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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                Eastern Division

FYF−JB, LLC
                            Plaintiff,
v.                                                 Case No.: 1:19−cv−02608
                                                   Honorable Thomas M. Durkin
Pet Factory, Inc.
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 28, 2019:


        MINUTE entry before the Honorable Thomas M. Durkin:Status hearing held on
6/28/2019. Defendant's motion to dismiss is to be filed by 7/2/2019. Plaintiff's response is
due by 7/23/2019. Defendant's reply is due 8/13/2019. Plaintiff's Rule 11 letter is to be
filed by 7/23/2019. Defendant's response is due 8/13/2019. Plaintiff's reply is due
8/27/2019. Status hearing set for 9/30/2019 at 09:00 AM.Mailed notice(srn, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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